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                   UNITED STATES DISTRICT COURT FOR
                      THE DISTRICT OF NEW JERSEY


 IN RE: JOHNSON & JOHNSON                    MDL NO. 2738 (FLW) (LHG)
 TALCUM POWDER PRODUCTS                      CHIEF JUDGE FREDA L.
 MARKETING, SALES                            WOLFSON
 PRACTICES, AND PRODUCTS                     MAG. JUDGE LOIS H. GOODMAN
 LIABILITY LITIGATION

 This document relates to:                   OMNIBUS CONSENT ORDER OF
                                             DISMISSAL OF DUPLICATE FILED
 All Cases Listed on Exhibits A and B        CASES WITH PREJUDICE



      Plaintiffs identified on Exhibits A and B, attached hereto, filed multiple

actions in this MDL litigation. Accordingly, pursuant to Federal Rule of Civil

Procedure Rule 41(a)(2) and with the consent of all parties, IT IS HEREBY

STIPULATED AND ORDERED that Plaintiffs’ claims against Defendants are

dismissed only in the “Duplicate Actions” identified in Exhibit A, with prejudice as

duplicate filings. This Order shall not affect the other civil actions filed by Plaintiffs

and identified as the “Remaining Actions” in Exhibit B, and the dismissals are not

adjudications on the merits. All parties shall bear their own costs.

            17th
      This ________          February
                    day of _____________________ 2021.



                                            /s/ Freda L. Wolfson
                                         __________________________________
                                         Hon. Freda L. Wolfson, U.S.C.D.J.
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                        EXHIBIT A
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                    DUPLICATE ACTIONS – TO BE DISMISSED

 Case Name                     DNJ Docket No.       Plaintiffs’ Counsel
 Ballard, Diana                3:20-cv-113952       Beasley Allen Crow
                                                    Methvin Portis & Miles PC
 Barnes, Denise                3:17-cv-09190        Onder Shelton O’Leary &
                                                    Peterson
 Beaulieu, Sandra              3:20-cv-05722        Law Offices of Jeffrey S.
                                                    Glassman, LLC
 Berkey, Deborah and           3:19-cv-12772        The Deaton Law Firm
 Jerry Berkey
 Bischoff, Elizabeth           3:20-cv-09640        Lenze Moss PLC
 Bolstad, Deborah              3:20-cv-11065        The Gori Law Firm PC
 Holdcraft, Carmelita,         3:17-cv-10936        Onder Law, LLC
 individually and as
 Representative of the
 Estate of Camille Browne,
 deceased
 Busbin, Lydia                 3:17-cv-08037        Ashcraft & Gerel
 Cain, Christy                 3:18-cv-17704        Onder Shelton O’Leary &
                                                    Peterson
 Carson, Carolyn               3:17-cv-13805        Onder Shelton O’Leary &
                                                    Peterson
 Hall, Michael, Individually   3:19-cv-00419        Onder Shelton O’Leary &
 and as Personal                                    Peterson
 Representative of the
 Estate of Marilyn Cathcart
 Cooper, Amanda                3:20-cv-00357        Onder Shelton O’Leary &
                                                    Peterson
 Cordova, Lucy                 3:20-cv-07490        Beasley Allen Cow
                                                    Methvin Portis & Miles PC
 Dale, Diana                   3:20-cv-06634        Arnold & Itkin, LLP
 Denning, Ronald               3:20-cv-10510        Fears and Nachawati Law
 Individually and on Behalf                         Firm
 of the Estate of Oliva
 Denning
 Denwiddie, Monica             3:20-cv-01266        Parker Waichman
 Diaz, Esperanza               3:19-cv-13436        Kiesel Law LLP
 Drayton, Rebecca              3:17-cv-11159        Lundy, Lundy Soileau &
                                                    South LLP
 Edgin, Diane Helen            3:19-cv-12595        Justinian & Associates
                                                    PLLC
 Ewing, Marisa C.              3:20-cv-08335        Jason J. Joy & Associates
                                                    PLLC
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                    DUPLICATE ACTIONS – TO BE DISMISSED

 Case Name                     DNJ Docket No.       Plaintiffs’ Counsel
 Flake, Teresa                 3:19-cv-08732        Onder Shelton O’Leary &
                                                    Peterson
 Johnson, Beverly              3:18-cv-08131        Dalimonte Rueb LLP /
                                                    Goldenberg Law PLLC
 Johnson, Catherine M.         3:20-cv-04396        Dalimonte Rueb LLP
 and Walter Johnson
 Wallace, Lori, Individually   3:20-cv-08240        Trammell PC
 and on Behalf of the
 Estate of Patricia
 Johnson, deceased
 Kelly, Graciela               3:18-cv-16808        Aylstock Witkin Kreis &
                                                    Overholtz, PLLC
 Kelly, Graciela               3:20-cv-13950        Morelli Law Firm
 Kelly, Graciela               3:20-cv-01198        Potts Law Firm
 Kingston, Kathy               3:19-cv-14613        Trammell PC
 The Estate of Mary            3:20-cv-10021        Davis and Bethune
 Kraszczak by and through
 Victoria Kraszczak
 Littleton, Debra S.           3:20-cv-02020        Dalimonte Rueb LLP
 Marlow, Audry                 3:17-cv-11189        Onder Shelton O’Leary &
                                                    Peterson
 Marks, Mary                   3:20-cv-04978        Trammell PC
 Mazarese, Maria               3:20-cv-03694        Johnson Law Group
 McKoy, Noel, Personal         3:17-cv-11982        Morgan & Morgan, P.C.
 Representative of the
 Estate of Moya M. McKoy,
 deceased
 McKoy, Noel, Sr. ,            3:17-cv-12089        Onder, Shelton, O’Leary
 Individually and as                                & Peterson, LLC
 Representative of the
 Estate of Moya McKoy,
 deceased
 Mihatsch, Janice              3:20-cv-01716        Francolaw, PLLC
 Motes, Alisha                 3:18-cv-12802        Onder Shelton O’Leary &
                                                    Peterson
 Nelson, Christy               3:17-cv-13649        The Dugan Law Firm
 Nixon, Vickie                 3:20-cv-00521        Driscoll Firm, P.C.
 Oliver, Alice Louise          3:17-cv-07867        Lundy Lundy Soileau &
                                                    South LLP
 Russell Lee Ehrnsberger,      3:20-cv-06809        Lenze Moss PLC
 Individually and for the
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                    DUPLICATE ACTIONS – TO BE DISMISSED

 Case Name                     DNJ Docket No.       Plaintiffs’ Counsel
 Estate of Silvia lee
 Pafundi, deceased
 Parsley, Mary                 3:20-cv-02534        Williams Kherkher Hart
                                                    Boundas LLP
 Reed, Barbara L.              3:20-cv-03825        Beasley Allen Crow
                                                    Methvin Portis & Miles PC
 Reynolds, Dawn                3:20-cv-01580        Onder Shelton O’Leary &
                                                    Peterson
 Riggs, Kristina               3:20-cv-00540        Onder Shelton O’Leary &
                                                    Peterson
 Rubago, Rosanna               3:19-cv-00012        Onder Shelton O’Leary &
                                                    Peterson
 Saunders, Kathryn             3:20-cv-09683        Napoli Shkolnik, PLLC
 Steinbarth, Brenda            3:20-cv-02465        Onder Shelton O’Leary &
                                                    Peterson
 Gurley, Capri, Individually   3:19-cv-0072         Onder Shelton O’Leary &
 and as Personal                                    Peterson
 Representative of the
 Estate of Lynora
 Summons-Kendale,
 deceased
 Smith, Pamela                 3:20-cv-11108        Trammell PC
 Sosa, Maria                   3:19-cv-12798        The Deaton Law Firm
 Thora, Stacy                  3:20-cv-01033        Onder Shelton O’Leary &
                                                    Peterson
 Tucker, Mary                  3:19-cv-19764        Onder Shelton O’Leary &
                                                    Peterson
 Watkins, Pamela               3:19-cv-19888        Onder Shelton O’Leary &
                                                    Peterson
 West, Patricia                3:20-cv-05444        Williams Kherkher Hart
                                                    Boundas LLP
 Williams, Reba                3:20-cv-11488        Beasley Allen Crow
                                                    Methvin Portis & Miles PC
 Fabius, Jacqueline,           3:18-cv-15289        Sanders Viener Grosman
 Individually and as the                            LLP
 Representative of the
 Estate of Margaret
 Wright, deceased
 Young, Ruth                   3:20-cv-02146        Onder Shelton O’Leary &
                                                    Peterson
 Zingone, Joann                3:20-cv-08703        Holland Groves Schneller
                                                    & Stolze LLC
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                         EXHIBIT B
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                  REMAINING ACTIONS – DO NOT DISMISS

 Case Name                   DNJ Docket No.         Plaintiffs’ Counsel
 Ballard, Diana              3:17-cv-09873          Onder Shelton O’Leary &
                                                    Peterson
 The Estate of Denise        3:19-cv-20004          Onder Shelton O’Leary &
 Barnes by and Through                              Peterson
 Brandi Hernandez
 Beaulieu, Sandra            3:20-cv-06929          Law Offices of Jreffrey S.
                                                    Glassman, LLC
 Berkey, Deborah Jean        3:18-cv-17639          Motley Rice
 Bischoff, Elizabeth         3:20-cv-08407          Trammell PC
 Bolstad, Deborah            3:20-cv-05667          Reich and Beinstock LLP
 Holdcroft, Carmelita, as    3:19-cv-05565          Napoli Shkolnik, PLLC
 Personal Representative
 of the Estate of Camille
 Browne
 Busbin, Lydia by and        3:19-cv-18149          Ashcraft & Gerel
 Through Angel Marie Jury
 Cain, Christy               3:17-cv-09283          Beasley Allen Crow
                                                    Methvin Portis & Miles PC
 Carson, Cameo on behalf     3:19-cv-09271          Burns Charest LLP
 of Carolyn Carson
 Sparks, Latasha,            3:18-cv-08357          Beasley Allen Cow
 Individually and as                                Methvin Portis & Miles PC
 Independent Executor of
 the Estate of Marilyn
 Cathcart
 Cooper, Amanda              3:19-cv-21778          Trammell PC
 Cordova, Lucy               3:17-cv-13641          The Dugan Law Firm
 Dale, Diana                 3:20-cv-02434          Holland Groves Schneller
                                                    & Stolze LLC
 Denning, Ronald, as         3:17-cv-10958          Ashcraft & Gerel
 Administrator of the
 Estate of Olivia Denning
 Denwiddie, Monica, et al.   3:20-cv-01275          The Simona Law Firm;
                                                    Williams Kherkher Hart
                                                    Boundas LLP
 Sanchez, Alejandro,         3:18-cv-16316          The Miller Firm LLC
 Executor of the Estate of
 Esperanza Diaz, deceased
 Drayton, Anthony,           3:18-cv-17532          Onder, Shelton, O’Leary
 Individually and as                                & peterson
 Personal Representative
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                    REMAINING ACTIONS – DO NOT DISMISS

 Case Name                     DNJ Docket No.       Plaintiffs’ Counsel
 of the Estate of Rebecca
 Drayton, deceased
 Edgin, Diane                  3:19-cv-08520        Beasley Allen Crow
                                                    Methvin Portis & Miles PC
 Ewing, Marisa                 3:17-cv-09614        Robinson Calcagnie Inc.
 Flake, Teresa                 3:18-cv-16687        Beasley Allen Crow
                                                    Methvin Portis & Miles PC
 Johnson, Beverly              3:20-cv-05493        Williams Kherkher Hart
                                                    Boundas LLP
 Johnson, Catherine M.         3:20-cv-08753        Holland Groves Schneller
 and Walter Johnson                                 & Stolze LLC
 The Estate of Patricia        3:19-cv-17749        Ross Feller Casey LLP
 Johnson by and through
 Lori Wallace, Personal
 Representative
 Kelly, Graciela               3:18-cv-15298        Sanders Phillips
                                                    Grossman, LLC
 Kingston, Kathy               3:20-cv-01759        Williams Kherkher Hart
                                                    Boundas LLP
 Victoria Kraszczak,           3:19-cv-21363        Dalimonte Rueb LLP
 Individually and as
 Personal Representative
 of the Estate of June
 Kraszczak, A/K/A Mary
 Kraszczak, deceased
 Littleton, Debra S.           3:20-cv-03345        Aylstock Witkin Kreis &
                                                    Overhotlz, PLLC
 Marlow, Audry                 3:20-cv-06234        The Driscoll Firm PC
 Marks, Mary                   3:20-cv-08250        Lance Entrekin PC
 Mazarese, Maria               3:20-cv-08855        Holland Groves Schneller
                                                    & Stolze LLC
 Clifton, Earl, Individually   3:17-cv-11837        Burns Charest LLP
 and as Personal
 Representative of the
 Estate of Moya McKoy
 Mihatsch, Janice              3:19-cv-10156        The Lanier Law Firm PC
 Motes, Alisha                 3:18-cv-00189        Potts Law Firm
 The Estate of Christy M.      3:19-cv-11266        Parker Waichman LLP
 Nelson, by and Through
 Cindy, Nelson
 Nixon, Vickie                 3:19-cv-21035        TorHoerman Law LLC
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                   REMAINING ACTIONS – DO NOT DISMISS

 Case Name                    DNJ Docket No.        Plaintiffs’ Counsel
 Oliver, Darren,              3:20-cv-02659         Onder Shelton O’Leary &
 Individually and as                                Peterson
 Personal Representative
 of the Estate of Alice
 Oliver
 Pafundi, Sylvia              3:19-cv-14576         Trammell PC
 Parsley, Mary                3:18-cv-16530         Napoli Shkolnik, PLLC
 Reed, Barbara                3:19-cv-21443         The Lanier Law Firm
 Fisher, Destiny,             3:20-cv-06144         Aylstock Witkin Kreis &
 Individually and Personal                          Overholtz, PLLC
 Representative of the
 Estate of Rachel Reynolds
 Riggs, Kristina              3:20-cv-00317         The Lanier Law Firm PC
 Rubago, Debra,               3:19-cv-06551         Burns Charest LLP
 Individually and on behalf
 of Rosanna Rubago
 Saunders, Kathryn            3:18-cv-17002         Beasley Allen Crow
                                                    Methvin Portis & Miles PC
 Steinbarth, Brenda           3:17-cv-08156         The Lanier Law Firm
 Kendale, Leinahtan,          3:19-cv-00313         The Miller Firm LLC
 Individually and as Next
 of Kin on Behalf of Lynora
 Simmons-Kendale,
 deceased
 Smith, Pamela                3:18-cv-08496         Napoli Shkolnik, PLLC
 Sosa, Maria                  3:19-cv-00521         Motley Rice LLC
 Thora, Stacy J.              3:19-cv-21527         Baum Hedlund Aristei &
                                                    Goldman, P.C.
 Tucker, Mary                 3:20-cv-00182         Arnold & Itkin LLP
 Watkins, Pamela              3:19-cv-18875         Beasley Allen Crow
                                                    Methvin Portis & Miles,
                                                    P.C.
 West, Patricia               3:18-cv-11018         Onder Shelton O’Leary &
                                                    Peterson
 Williams, Reba               3:17-cv-10141         The Lanier Law Firm
 The Estate of Martha M.      3:20-cv-13272         Sullo & Sullo LLP
 Topps by and through
 Martha M. Topss and
 Jackie Fabius
 Young, Ruth                  3:20-cv-01707         Dalimonte Rueb LLP
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                   REMAINING ACTIONS – DO NOT DISMISS

  Case Name                DNJ Docket No.           Plaintiffs’ Counsel
  Zingone, Joann           3:17-cv-05668            Onder Shelton O’Leary &
                                                    Peterson / Skikos,
                                                    Crawford, Skikos &
                                                    Joseph
